8:02-cr-00419-LES-TDT   Doc # 139   Filed: 10/05/07   Page 1 of 1 - Page ID # 787



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:02CR419
                              )
          v.                  )
                              )
JEVAUGHN D. ERWIN,            )               ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED that defendant’s motion to vacate, set

aside, or correct his sentence pursuant to 28 U.S.C. § 2255

(Filing No. 130) is denied.

           DATED this 5th day of October, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
